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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )                 8:09-cr-186
                                                 )
JUAN AGUILAR-RAMIREZ,                            )                   ORDER
                                                 )
                      Defendant.                 )


        This matter is before the court on the Motion of Juan Aguilar-Ramirez to continue trial
because he is engaged in discussions of possible resolutions with the government. The court
finds that the defendant has not satisfactorily explained why plea negotiations cannot be timely
completed and has not shown good cause for a continuance of the scheduled trial date.

        IT IS ORDERED that defendant's Motion to Continue Trial (Doc. 32) is denied. The trial
of this matter remains scheduled for August 11, 2009.

       Pursuant to NECrimR 57.2, a party may appeal this order by filing an "Appeal of
Magistrate Judge's Order" no later than August 6, 2009.

       DATED August 3, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
